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` D"ffSTf~'\‘ CIT CBURT
IN THE UNITED STATES§U LKICFI`;COURZI‘\§D

FOR THE DISTRICT OF MARYLAND
ZG'E`% BUS 2`[ E`?*LI!= 53
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AT §§LT!MDEE
Y Criminal C§§WSE.§H- -14-271
(Related Civil Acl'ion: ELH- 18- -745)

KEYON PAYLOR,
Petitioner,

UNITED STATES OF AMERICA,
Respondent

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fM ‘ D| ORDER
Upon consideration of the foregoing MOTION FOR LEAVE TO FILE UNDER SEAL,

and for good cause Shown, it is this 92 g“ h day of § T , 20]8, hereby ORDERED

that (1) MI. Paylor’s reply brief and exhibits thereto Shall filed under seal; and-(-Z-}-l\¢k.-Pay}or%

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/§ML@/\ f . HVMM\M
Honorable Ellen L. I-Iollander
United States District Judge
United States District Court for the
District of Maryland

